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                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

IN THE MATTER OF:                            )
                                             )
AUBURN FOUNDRY, INC.,                        )              Chapter 11
                                             )
                   Debtor.                   )              BK Case No. 04-10427

                     NOTICE OF APPLICATION FOR ALLOWANCE OF
                    ATTORNEYS’ FEES AND OPPORTUNITY TO OBJECT

                On April 6, 2005, Baker & Daniels (“B&D”), attorneys for the Debtor, filed its
Interim Application for Allowance of Attorney’s Fees, requesting the allowance and payment of
professional fees and reimbursement of expenses, to the extent not already paid on a provisional
basis, for the period through February 28, 2005, in accordance with §§ 327, 330, and 331 of the
Bankruptcy Code. If granted, the Application would permit the allowance and payment of the
fees and expenses set forth therein.

              Based upon the amount of time involved and the nature of the services rendered
through February 28, 2005, the Applicant seeks allowance of the sum of Five Hundred Ninety
Eight Thousand, Eight Hundred Eight and 50/100 Dollars ($598,808.50) in Attorney’s Fees, plus
Sixty Two, Eight Hundred Twenty Four and 24/100 Dollars ($62,824.24) in expenses.

               In representing the Debtor, B&D has filed with the Court its monthly itemized
statements, and, including retainers, has been paid Four Hundred Seventy Nine Thousand, Forty
Six and 80/100 Dollars ($479,046.80) in attorney’s fees and costs.

               B&D seeks payment of the unpaid balance of One Hundred Nineteen Thousand,
Seven Hundred Sixty One and 70/100 Dollars ($119,761.70), which has not been heretofore paid
pursuant to the Order authorizing Provisional Payment of Fees. A copy of the Application is
attached hereto. If granted, the Application would authorize the allowance of such fees and
expenses. Payment of such fees will be made pursuant to a carve-out by the Senior Lenders
from funds subject to their security interest, and, thus, payment will not diminish funds
available to the Debtor that are not subject to Senior Lender liens.

              If you do not want the court to grant the Application, then on or before April 26,
2005, you or your attorney must:

              1)     File a written objection to the Application, which should explain the
reasons why you object, with the Clerk of the United States Bankruptcy Court at:
                              1300 South Harrison Street
                              Room 1188
                              P.O. Box 2547
                              Fort Wayne, IN 46802-2547




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If you mail your objection, you must mail it early enough that it will be received by the date it is
due.

                   2)   You must also mail a copy of your objection to:
                               John R Burns
                               Baker & Daniels
                               111 East Wayne Street, Ste 800
                               Fort Wayne, IN 46802

               If you do not file an objection by the due date, the court may grant the relief
requested without holding a hearing.

                If you do file an objection, the court will set the motion for hearing, which you
or your attorney will be expected to attend.



Date: April 7, 2005                           By: /s/John R Burns, III
                                                 John R Burns, III (#3016-02)
                                                 Mark A. Werling (#20426-02)
                                                 111 East Wayne Street, Suite 800
                                                 Fort Wayne, Indiana 46802
                                                 john.burns@bakerd.com
                                                 mark.werling@baker.com
                                                 Telephone: (260) 424-8000
                                                 Facsimile: (260) 460-1700

                                            ATTORNEYS FOR THE DEBTOR,
                                            AUBURN FOUNDRY, INC.




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